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 1                                                         HONORABLE RICHARD A. JONES

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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 9   CITY OF SEATTLE and CITY OF
     PORTLAND,
10                                                    Case No. C17-497-RAJ
                                 Plaintiffs,
11
                                                      ORDER AND JUDGMENT GRANTING
12                  vs.                               DECLARATORY RELIEF

13   DONALD J. TRUMP, et al.,

14                               Defendants.

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16          Upon consideration of the parties’ briefs and the balance of the record, the decision in
17   City and County of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018), and the parties’
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     agreement on the appropriate disposition of this case, it is hereby
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            ADJUDGED against defendants Jefferson B. Sessions, III, Attorney General, and
20
     Kirstjen M. Nielsen, Secretary of Homeland Security, that Section 9(a) of Executive Order
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     13,768, “Enhancing Public Safety in the Interior of the United States,” is unconstitutional;
22
     and it is further
23



      ORDER AND JUDGMENT - 1
              Case 2:17-cv-00497-RAJ Document 62 Filed 10/24/18 Page 2 of 2



 1         ADJUDGED against the same defendants that, because Section 9(a) of Executive

 2   Order 13,768 directs Executive Branch administrative agencies to withhold funding that

 3   Congress has not tied to compliance with 8 U.S.C. § 1373, it would be unconstitutional for
 4
     Executive Branch agencies to withhold appropriated funds from plaintiffs Cities of Seattle
 5
     and Portland pursuant to Section 9(a) of the Executive Order.
 6
           This Order and Judgment does not address whether any specific statutory grant
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     program permits grants to be conditioned on compliance with 8 U.S.C. § 1373.
 8
           DATED this 24th day of October, 2018.
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                                                     A
                                                     The Honorable Richard A. Jones
12                                                   United States District Judge

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      ORDER AND JUDGMENT - 2
